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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            8:04CR147
                                            )
                    Plaintiff,              )
                                            )
      v.                                    )                 ORDER
                                            )
PAMELA E. AINSWORTH,                        )
                                            )
                    Defendant.              )


      Before the court is the government’s motion for Rule 35(b) hearing. Filing No. 53.
Having considered the matter,
      IT IS ORDERED:
      1. A Rule 35 hearing is scheduled before the undersigned on January 18, 2006, at
11:00 a.m. in Courtroom No. 3, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska.
      2. At the request of the defendant through her counsel, and with the agreement of
the government, the defendant may be absent from the hearing on the Rule 35 motion.
      3. The Marshal is directed not to return the defendant to the district, and the
defendant is held to have waived her right to be present.
      4. Counsel for the defendant, previously appointed pursuant to the Criminal Justice
Act, is reappointed to represent the defendant for purposes of the Rule 35(b) motion.
      5. The Federal Public Defender shall provide CJA counsel with a new voucher.
      DATED this 12th day of January, 2006.

                                            BY THE COURT:


                                            s/ Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            United States District Judge
